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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                               ThIeAUG-7 PM          :26


COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD.
AND CONSUMER SERVICE
ALLIANCE OF TEXAS,
                PLAINTIFFS,

V.                                                        CAUSE NO. A-i 8-CV-0295-LY

 CONSUMER FINANCIAL
 PROTECTION BUREAU AND JOHN
 MICHAEL MULVANEY,
                DEFENDANTS.




       Before the court is the above styled and numbered cause. Pending in the action are Plaintiffs

Community Financial Services Association of America, Ltd. and Consumer Service Alliance of

Texas's ("Associations") Unopposed Motion for Reconsideration filed June 21, 2018 (Clerk's

Document No. 30) and Defendant Consumer Financial Protection Bureau's ("Bureau") Response

in Support of Plaintiffs' Motion for Reconsideration filed June 22, 2018 (Clerk's Document No. 34).

Also pending is the Motion by Public Citizen, Inc., Americans for Financial Reform Education Fund,

Center for Responsible Lending, and National Consumer Law Center ("Nonparties") for Leave to

File Amicus Memorandum in Opposition to Plaintiffs' Motion for Reconsideration filed June 25,

2018 (Clerk's Document No. 32), which includes the amicus memorandum as an exhibit, and the

Bureau's Response to Amici's Motion for Leave to File Amicus Memorandum filed June 29, 2018

(Clerk's Document No. 35). The court addresses both motions.
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Motion for leave to file amicus memorandum

        The Nonparties' motion provides that the Associations oppose the motion for leave to file,

although the Associations have not filed any written opposition. The Bureau informs the court that

it takes no position on the motion, however the Bureau's response provides, "the substance of the

proposed [amicus] memorandum would not materially affect the resolution of the pending Motion

for Reconsideration."

        Having considered the case file and the applicable law, the court will grant the Nonparties'

motion for leave to file the amicus memorandum in opposition to the motion for reconsideration.

Motion for reconsideration

        This action was filed on April 9, 2018. By order rendered June 12, 2018, the court granted

two of the parties' three joint requeststhe court relieved the Bureau of filing an answer and stayed

all proceedings in this action pending further order of the court. The court also ordered that "the

parties filejoint periodic status reports detailing the matters described in their motion," with the first

report due on or before August 17,2018. In all other respects the parties' joint requests were denied.

        By the motion for reconsideration, the Associations ask the court to reconsider only the

portion of the June 12 order that denied the parties' joint request to stay the August 19, 2019

compliance date for the Bureau's "Payday, Vehicle Title, and Certain High-Cost Installment Loans"

rule ("Payday Rule" or "Rule") until 455 days after final judgment is rendered in this action.1 The

Bureau's response in support of the motion, informs the court that it is taking steps to reconsider the

Payday Rule through the notice-and-comment administrative rulemaking process. Further the



        Although the Payday Rule became effective on January 16, 2018, August 19, 2019 is the
compliance date for most provisions of the Payday Rule.

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Bureau informs the court that in light of the Bureau's intention to reconsider the Rule, the Bureau

has granted waivers to all requesting companies, so that these companies avoided compliance with

the Rule's April 16, 2018 deadline for preliminary approval to become a registered information

system. The waivers granted are open-ended, as none of them have a fixed expiration date or

establish a new deadline.

       Having considered the motion for reconsideration, the Bureau's response, the amicus

memorandum, the case file, the applicable law, the fact that the compliance date at issue is over one

year away, and that the parties request includes a 455-day stay of the compliance deadline beyond

the court's final judgment, the court will deny the motion for reconsideration. As mentioned in the

June 12 order, through joint status reports the parties may inform the court of any pertinent matters

related to the rulemaking process associated with the Payday Rule that impact this action and request

further action by the court.

       IT IS ORDERED that the Motion by Public Citizen, Inc., Americans for Financial Reform

Education Fund, Center for Responsible Lending, and National Consumer Law Center for Leave to

File Amicus Memorandum in Opposition to Plaintiffs' Motion for Reconsideration filed June 25,

2018 (Clerk's Document No. 32) is GRANTED.              The clerk of court shall file the Amicus

Memorandum in this action.

       IT IS FURTHER ORDERED that Plaintiffs Community Financial Services Association

of America, Ltd. and Consumer Service Alliance of Texas's Unopposed Motion for Reconsideration

filed June 21, 2018 (Clerk's Document No. 30) is DENIED.

       SIGNED this


                                              LL4#
                                      day of August, 2018.



                                              UNIII'ED STATES       ISTRICT JUDGE
